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[Doexstsh] [ORDER EXTENDING STAY AND SCHEDULING HEARING]




                                         ORDERED.
Dated: June 17, 2019




                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION
                                          www.flmb.uscourts.gov



In re:                                                                    Case No.
                                                                          8:19−bk−05397−RCT
                                                                          Chapter 7
Richard Michael Randall

Julia Elizabeth Dawson−Randall

________Debtor*________/

            ORDER EXTENDING STAY AND SCHEDULING PRELIMINARY HEARING

   THIS CASE came on for consideration without a hearing on the Motion to Extend Stay 9 filed by the
Debtor. The Court is not able to schedule a hearing in compliance with 11 U.S.C. 362(c)(3)(B) within thirty
days and finds that in as much as it is necessary, the automatic stay will be extended until such time as a
hearing can be scheduled. Accordingly, it is

   ORDERED as follows:

   1. The automatic stay is continued in full force and effect pending further order of this Court.

    2. The preliminary hearing is set for 7/16/19 at 10:30 AM in Courtroom 9B, Sam M. Gibbons United
States Courthouse, 801 N. Florida Ave., Tampa, FL 33602 . .

Avoid delays. You are reminded that Local Rule 5073−1 restricts the entry of cellular telephones and, except
in Orlando, computers into the Courthouse absent a specific order of authorization issued beforehand by the
presiding judge, a valid Florida Bar identification card, or pro hac vice order. Please take notice that as an
additional security measure a photo ID is required for entry into the Courthouse.

The Clerk's office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
